                       Case 21-11549-RAM            Doc 27     Filed 03/22/21    Page 1 of 1
Form CGFCRD3T (2/16/2021)

                                 United States Bankruptcy Court
                                             Southern District of Florida
                                              www.flsb.uscourts.gov
                                                                                     Case Number: 21−11549−RAM
                                                                                     Chapter: 11

In re:
 CSC Enterprises, Inc. DBA Scully's Tavern
 9809 SW 72nd St
 Miami, FL 33173
 EIN: 65−0051546


                                               NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Robert A Mark to consider the
following:

Motion to Compel Payment of Post−Petition Rent [Negative Notice] Filed by Creditor Equity One
(Florida Portfolio), LLC (Davis, Ryan) (19)

1.   This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
     time for this matter is ten minutes. The hearing will be held:

     Date:          April 15, 2021
     Time:          01:30 PM
     Location:      Telephone by CourtSolutions LLC

2.   The hearing scheduled by this notice will take place only by telephone. DO NOT GO TO THE
     COURTHOUSE. Attorneys must advise their clients not to appear at the courthouse. Individuals not
     represented by counsel will be able to use the telephonic services free of charge. Although conducted
     by telephone, the hearing is a court proceeding. The formalities of the courtroom must be observed.
     All participants must exercise civility, and otherwise conduct themselves in a manner consistent with
     the dignity of the Court.

3.   To participate through CourtSolutions, you must make a reservation in advance no later than 3:00
     p.m., one business day before the date of the hearing. Reservations should be arranged online at
     https://www.court−solutions.com. If a party is unable to register online, a reservation may also be
     made by telephone at (917) 746−7476.

4.   The movant, or movant's counsel if represented by an attorney, must:

             (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                 document(s) on all required parties within the time frame required by the Federal Rules of
                 Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

             (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

5.   PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
     recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
     official record of the hearing.

Dated: 3/22/21                                               CLERK OF COURT
                                                             By: Jeanne Snipes
                                                             Courtroom Deputy
